                        IN THE UNITED STATES DISTRICT COURT
                         FOR THE MIDDLE DISTRICT OF FLORIDA

BETHANY GAUDREAU, ET AL.,                       )
                                                )
        Plaintiffs,                             )
                                                )
            v.                                  )     Case No. 6:21-cv-01899-CEM-DAB
                                                )
MY PILLOW, INC., ET AL.,                        )
                                                )
       Defendants.                              )
                                                )
                                                )

DEFENDANTS’ OBJECTIONS TO FINDINGS AND CONCLUSIONS IN REPORT AND
                       RECOMMENDATION

       Defendants My Pillow, Inc. (“MyPillow”), Michael James Lindell (“Lindell”), and Frank

Speech, LLC (“FrankSpeech”) (collectively, “Defendants”) pursuant to Rule 72 of the Federal

Rules of Civil Procedure and to 28 U.S.C. § 636(b)(1), submit the following Objections to the

Report and Recommendation (“Report,” Doc. 60) on Defendants’ Motion to Compel Arbitration

and Dismiss Class Action Claims (“Motion,” Doc. 49). Defendants urge the Court to reject the

disposition recommended in the Report and to grant Defendants’ Motion. If the Court denies

Defendants’ Motion, Defendants alternatively ask that the Court issue instructions consistent with

these Objections.

                                      INTRODUCTION

       The Report bases the recommendation to deny Defendants’ Motion, at least in part, on

three conclusions: 1) Defendants failed to establish a valid agreement by not providing proof that

Plaintiffs visited the MyPillow website or provided their phone numbers to MyPillow; 2)

MyPillow waived the right to seek arbitration; and 3) judicial estoppel precluded Defendants

Lindell and FrankSpeech from relying on MyPillow’s arbitration agreement. Defendants
specifically and respectfully object to these three conclusions as stated in the Report. Through their

Motion, Defendants also sought the alternative relief of dismissing Plaintiffs’ class action claims.

Defendants object to the Report to the extent it does not address the alternative relief sought.

                                      LEGAL STANDARD

       This Court’s review is de novo. See 28 U.S.C. § 636(b)(1)(C) (“A judge of the court shall

make a de novo determination of those portions of the report or specified proposed findings or

recommendations to which objection is made.”).

                                  FACTUAL BACKGROUND

       Defendants submit no objection to the background facts as described in the Report. (Doc.

60, pp. 2-3). Instead, Defendants object to the conclusions identified and discussed below.

                                    SPECIFIC OBJECTIONS

       I.      It is Premature to Find Defendants Failed to Establish a Valid Agreement

       Defendants object to the Report’s conclusion that “Defendants fail to show that the

Messaging Terms constitute a valid, written agreement between the parties since they provide no

proof Plaintiffs visited MyPillow’s website or provided their phone numbers to MyPillow.” (Doc.

60, p. 8). This conclusion imposes an evidentiary hurdle to the Motion that Defendants are not yet

required to clear. Though Defendants may ultimately be obliged to establish the existence of a

valid, written agreement between the parties, see, e.g., Gustave v. SBE ENT Holdings, LLC, Civil

Action No. 19-23961-Civ-Scola, 2020 U.S. Dist. LEXIS 180264, at *9 (S.D. Fla. Sep. 30, 2020),

they need not do so in the time and manner the Report contemplates. It is premature to find

Defendants failed to meet their burden to establish an agreement between the parties.

       Where a party disputes the validity of an arbitration agreement, as Plaintiffs do here, the

Federal Arbitration Act mandates that dispute to rest on more than mere critique. But critique is




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all that has been offered so far by the Plaintiffs. If Defendants must show Plaintiffs assented to

MyPillow’s terms and conditions to prevail on the Motion, they are entitled to review or gather

facts bearing on that issue. The Eleventh Circuit Court of Appeals recently embraced this principle,

noting that “the FAA expressly provides that district courts may consider evidence when

determining whether an arbitration agreement exists.” Reiterman v. Abid, 26 F.4th 1226, 1233

(U.S. 11th Cir. 2022) (citing 9 U.S.C. § 4 (“If the making of the arbitration agreement … be in

issue, the court shall proceed summarily to the trial thereof. If no jury trial be demanded by the

party alleged to be in default … the court shall hear and determine such issue.”)). Such evidence,

of course, may include the phone numbers Plaintiffs allege they never provided to Defendants and

sworn testimony that they never visited the MyPillow website. In opposing the Motion, however,

Plaintiffs did not identify their numbers, nor did Plaintiffs offer proof or testimony they never

visited the website cited in their Complaint. (Corr. Second Am. Compl., Doc. 44, p. 36).

       Controlling caselaw further suggests denying the Motion is premature. The Report refers

to Bazemore v. Jefferson Capital Systems, LLC, 827 F.3d 1325, 1327 (11th Cir. 2016) in finding

that Defendants cannot meet their burden to establish a valid agreement because the declaration of

a MyPillow employee was inadequate. (Doc. 60, p. 10). Bazemore, however, does not merit that

finding. As the Court would explain in Reiterman,

       Bazemore simply provides district courts with the option of deciding whether an
       arbitration agreement exists as a matter of law using a summary judgment-like
       standard. It does not preclude district courts from holding an evidentiary hearing to
       determine whether an arbitration agreement exists as a matter of fact, not as a matter
       of law… As the District Court here held an evidentiary hearing to determine




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       whether an arbitration agreement existed, it was not required to apply a summary
       judgment-like standard under Bazemore.

       Reiterman, 26 F.4th at 1233.

       No evidentiary hearing has yet been conducted, meaning that the summary judgment-

standard would apply. Id. Under this standard, the Motion should have been granted because

Plaintiffs have not opposed it with admissible evidence. See Hearn v. Comcast Cable Commc'ns,

LLC, 992 F.3d 1209, 1215 n.3 (11th Cir. 2021) (applying summary judgment-like standard to

motion to compel arbitration); Robertson v. Interactive Coll. of Tech./Interactive Learning Sys.,

743 F. App'x 269, 273 (11th Cir. 2018); Wright v. Greensky, Inc., No. 20-cv-62441, 2021 U.S.

Dist. LEXIS 110593, at *7 (S.D. Fla. June 14, 2021) (summary judgment evidence must be

evidence that could be admissible at trial). Plaintiffs have offered no testimony or documentary

evidence rebutting actual or constructive knowledge of the Terms and Conditions cited in their

Complaint. (Corr. Second Am. Compl., Doc. 44, p. 36).

       If Plaintiffs never agreed to MyPillow’s Terms and Conditions, they should present some

admissible evidence to that effect. Consistent with Reiterman, denials of motions to compel

arbitration without a hearing – or at least some admissible evidence or testimony by the non-

moving party – deviate from the procedure the FAA outlines. See 9 U.S.C. § 4 ("If the making of

the arbitration agreement . . . be in issue, the court shall proceed summarily to the trial thereof. If

no jury trial be demanded by the party alleged to be in default . . . the court shall hear and determine

such issue."). See also Reiterman, 26 F.4th at 1233.

       Caselaw invoked within the Report further underscores that denying the Motion would be

premature. (Doc. 60, p. 6) (citing Caley v. Gulfstream Aerospace Corp., 428 F.3d 1359, 1368 (11th

Cir. 2005); CEFCO v. Odom, 278 So. 3d 347, 352 (Fla. 1st DCA 2019); Palm Garden of




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Healthcare Holdings, LLC v. Haydu, 209 So. 3d 636, 638 (Fla. 5th DCA 2017)).1 In Caley, the

Eleventh Circuit affirmed the district court’s granting of the defendant’s motion to compel

arbitration, even though the plaintiffs disputed the validity of the arbitration agreement and the

record established they never signed it. Caley, 428 F.3d at 1369-70; 1374-75; 1379. This is

consistent with the well-settled precept that arbitration can be compelled even if a party disputes

the validity of the arbitration agreement itself. See, e.g., TracFone Wireless, Inc. v. Blue Ocean's

Distrib., LLC, 616 F. Supp. 2d 1284, 1285-86 (S.D. Fla. 2009). In CEFCO, the Florida First

District Court of Appeal evaluated substantial record evidence, including multiple affidavits from

the party claiming she never assented to arbitration. 278 So. 3d at 350-351. No such testimony has

been presented here. Similarly, in Palm Garden, the trial court held a hearing on the motion to

compel arbitration, during which it considered testimonial evidence from key witnesses as to

whether the parties entered into a binding arbitration agreement. Palm Garden, 209 So. at 637-38.

       Defendants have both the ultimate burden to establish a valid arbitration agreement and an

opportunity under the Federal Arbitration Act to meet their burden.2 Denying the Motion unduly

deprives them of that opportunity.

       II.     A Finding of Judicial Estoppel is Premature and not Appropriate as to

               Agency Claims

       Defendants object to the Report’s finding that judicial estoppel applies in this case. The

Report and Recommendation denied Defendants’ Motion in part because “Defendants rely only

on Plaintiffs’ allegations as proof to establish an agency relationship. (Doc. 49 at 15). But



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 St. Joe Corp. v. McIver, 875 So. 2d 375, 381 (Fla. 2004), also cited on page 6 of the Report, did
not involve a disputed arbitration agreement or a motion to compel arbitration.

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 This is the case not only for Plaintiffs Gaudreau and Ram, but also for each and every member
of the putative classes.


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Defendants cannot avail themselves of an agency relationship when it benefits them only to dispel

the relationship when it does not…‘Judicial estoppel is applied to the calculated assertion of

divergent sworn positions. The doctrine is designed to prevent parties from making a mockery of

justice by inconsistent pleadings.”).” (Doc. 60, p. 7) (citing American Nat'l Bank v. Federal Dep.

Ins. Corp., 710 F.2d 1528, 1536 (11th Cir. 1983)).

       Judicial estoppel does not apply in this case. When evaluating whether judicial estoppel

applies,

       [t]he Eleventh Circuit employs a two-part test. First, courts look to whether the
       party took an inconsistent position under oath in a separate proceeding and then to
       whether the "inconsistent positions were 'calculated to make a mockery of the
       judicial system.'" [Slater v. United States Steel Corp., 871 F.3d 1174, 1181 (11th
       Cir. 2017)]. Both positions, as well as the party's motive in changing positions, must
       be considered. Id. "Judicial estoppel should not be applied when the inconsistent
       positions were the result of "inadvertence[ ] or mistake" because judicial estoppel
       'looks towards cold manipulation and not an unthinking or confused blunder.'" Id.
       (quoting Johnson Serv. Co. v. Transamerica Ins. Co., 485 F.2d 164, 175 (5th Cir.
       1973)).

       Kennedy v. Stein, No. 5:21-cv-00106-TES, 2021 U.S. Dist. LEXIS 189458, at *31-32

       (M.D. Ga. Oct. 1, 2021).

       Judicial estoppel may also apply "where a party assumes a certain position in a legal

proceeding and succeeds in maintaining that position…” Dzikowski v. United States (In re

Cummings), 381 B.R. 810, 826 (S.D. Fla. 2007). This is not the situation addressed in the Report,

as no party to the case has yet successfully maintained a position regarding the alleged agency of

Defendants.

       Here, there has been no separate proceeding, nor has any party yet successfully maintained

a position it now seeks to contravene. Instead, Plaintiffs have alleged an agency relationship,

claiming that the three Defendants worked in concert to prepare and send text messages that violate

the TCPA and FTSA. (Corr. Second Am. Compl., Doc. 44, pp. 32-34). Plaintiffs allege that this



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joint effort was a “marketing scheme” hatched on MyPillow’s behalf to generate revenue. (Id., pp.

34-35). Defendants appropriately proceeded on a Rule 12 motion assuming, arguendo, that even

if these allegations were true, then arbitration may still be required. See Craig v. Total Quality

Logistics, LLC, No. 8:16-cv-2970-T-24 AEP, 2017 U.S. Dist. LEXIS 12023, at *7-8 (M.D. Fla.

Jan. 30, 2017) (non-parties to an arbitration agreement may invoke the agreement). Within the

context of the same case, it is axiomatic that parties can raise alternative arguments and positions

that may rely on conflicting facts. See, e.g., Montoya v. PNC Bank, N.A., No. 14-20474-CIV-

GOODMAN, 2014 U.S. Dist. LEXIS 119464, at *34 (S.D. Fla. Aug. 27, 2014) (alternative

pleading is permitted at the motion to dismiss stage, even if theories are inconsistent). This is why

a Rule 12 motion generally does not call for judicial estoppel. See, e.g., Allen v. Senior Home Care,

Inc., No. 14-81408-CIV-MARRA, 2015 U.S. Dist. LEXIS 29768, at *5 (S.D. Fla. Mar. 11, 2015)

(ruling on the issue of judicial estoppel was premature at the motion to dismiss stage).

       To the extent the Report recommends denying the Motion based on judicial estoppel

principles, this recommendation should be rejected.

       III.    Defendants Did Not Waive Their Right to Seek Arbitration

       Defendants object to the Report’s conclusion that MyPillow waived the right to seek

arbitration. (Doc. 60, pp. 13-21). Plaintiffs’ Corrected Second Amended Complaint set forth

material changes to the prior complaint. In such a case, the right to compel arbitration not

previously asserted may be revived. See Krinsk v. SunTrust Banks, Inc., 654 F.3d 1194, 1203-1204

(11th Cir. 2011). The Corrected Second Amended Complaint materially changes a previous

operative pleading, Plaintiffs’ Amended Complaint, which contained no reference to FrankSpeech

or Lindell as parties or potential parties. (Doc. 9). Plaintiffs’ filing of the Corrected Second

Amended Complaint revived Defendant MyPillow’s right to enforce the arbitration agreement




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because the amended pleading materially expanded the theory and scope of Plaintiffs’ case,

introducing new allegations of a “marketing scheme” hatched among entirely new defendants. See,

e.g., Brown v. E.F. Hutton & Co., 610 F. Supp. 76, 78-79 (S.D. Fla. 1985) (new factual allegations

may revive right to seek arbitration).

       The Report invoked the recent Supreme Court decision of Morgan v. Sundance, Inc., 142

S. Ct. 1708 (2022) to analyze the issue of waiver in the context of both Florida law and non-

arbitration cases. (Doc. 60, pp. 16-20). Morgan does not invite that analysis because Morgan does

not universally abrogate the settled law in this circuit that “[f]ederal law governs the issue of

waiver.” Guy Roofing v. Angel Enters., LLC, No. 17-14081-CIV, 2018 U.S. Dist. LEXIS 34807,

at *16 (S.D. Fla. Feb. 28, 2018) (citing S&H Contractors, Inc. v. A.J. Taft Coal Co., Inc., 906 F.2d

1507, 1514 (11th Cir. 1990)). Neither Morgan nor any case cited in the Report suggests a state law

standard would apply to the alleged waiver of an arbitration agreement.

       In Morgan, the issue before the Supreme Court was the Eighth Circuit’s decision to

condition waiver on a showing of prejudice. 142 S. Ct. at 1712-13. Here, Defendants have not

asked the Court to consider only the lack of prejudice to Plaintiffs. Morgan eliminated the

prejudice sub-element, but it did not address the question of waiver relevant to the Motion: the

revival of a right to arbitrate through an amended pleading. In that context, the waiver analysis

remains the law of this circuit. See, e.g., Krinsk, 654 F.3d at 1203-1204; Guy Roofing, 2018 U.S.

Dist. LEXIS 34807, at *16. Waiver is inherently case-specific, and “any party arguing waiver of

arbitration bears a heavy burden of proof.” Gutierrez v. Wells Fargo Bank, N.A., 889 F.3d 1230,

1236 (11th Cir. 2018); Grigsby & Assocs. v. M. Sec. Inv., 635 F. App’x 728, 732 (11th Cir. 2015).

Morgan did not abrogate the “heavy burden of proof” standard espoused in cases like Gutierrez

and Grigsby. In fact, Morgan did not address the burden standard at all. It therefore does not




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suggest that a lower waiver burden now applies to the Motion. The Report should not be adopted

to the extent it is inconsistent with Morgan and with controlling federal law respecting the waiver

of arbitration agreements.

          IV.    This Court May Dismiss Plaintiffs’ Class Action Claims

          Defendants, through their Motion, moved for a dismissal of Plaintiffs’ class action claims.

(Doc. 49, pp. 20-23). Defendants object to the Report to the extent it does not address that relief

sought.

          As the Report notes, MyPillow’s Messaging Terms “contain a waiver of class action.”

(Doc. 60, p 3). The Report does not specifically find whether this waiver applied to Plaintiffs. It

should have, because a class action waiver may be enforceable even if the arbitration agreement is

not. See, e.g., McIntosh v. Royal Caribbean Cruises, Ltd., No. 17-CV-23575, 2018 U.S. Dist.

LEXIS 60234, at *8-9 (S.D. Fla. Apr. 9, 2018); Deluca v. Royal Caribbean Cruises, LTD, 244 F.

Supp. 3d 1342, 1348-49 (S.D. Fla. 2017) (“Class action waivers are enforceable outside the context

of consumer arbitration.”). A district court must enforce a valid class action waiver. See Bailey v.

Vulcan Materials Co., No. 1:21-CV-0998-MHC, 2021 U.S. Dist. LEXIS 235444, at *7 (N.D. Ga.

Nov. 16, 2021) (“The validity of a class action waiver has nothing to do with the advantages of

arbitration or some sort of trade-off. Instead, class action waivers are upheld because they are

contractual provisions that do not affect any substantive rights.”).

          Defendants presented argument in the Motion that the Court should enforce both the

arbitration and class action waiver provisions at issue in this case, and argued that class waiver

claims may survive even if arbitration were denied. (Doc. 49, p. 23). Based on the facts underlying

the Motion, the Court may dismiss Plaintiffs’ class action claims. See, e.g., Deluca, 244 F. Supp.

3d at 1345. If the Court does not dismiss or further address Plaintiffs’ class action claims at this




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stage, the Court may, pursuant to Rule 72, instruct that Defendants are not prejudiced from later

seeking dismissal of those claims.

                                         CONCLUSION

       For the reasons discussed above, as well as in Defendants’ Motion, Defendants respectfully

request an Order from this Court compelling the parties to arbitrate Plaintiffs’ claims and

dismissing Plaintiffs’ class action claims.



DATED: July 15, 2022                          PARKER DANIELS KIBORT LLC

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                                  CERTIFICATE OF SERVICE

        I hereby certify that on July 15, 2022, I have filed the foregoing with the Clerk of the Court,

who will use the CM/ECF system which will send a notice of electronic filing to the following

service list.

                                                  By: /s/ Ryan P. Malone
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